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                                                              Exhibit A
Case: 4:18-cv-00692-RLW Doc. #: 1-1 Filed: 05/01/18 Page: 2 of 10 PageID #: 8
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